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                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA


                                      CRIMINAL MINUTES

Date: July 8, 2020                 Time: 2:15 – 2:26            Judge: MAXINE M. CHESNEY




Case No.: 18-cr-00465-MMC-1        Case Name: UNITED STATES v. United Microelectronics Corporation
                                                                  Fujian Jinhua Integrated Circuit



Attorney for Plaintiff: Laura Vartain Horn
Attorney for Defendant (UMC): Leslie Caldwell
Attorney for Defendant (Fujian Jinhua): Christine Wong, Jack DiCanio

 Deputy Clerk: Tracy Geiger                       Court Reporter: Debra Pas

                                           PROCEEDINGS


Status Conference – held telephonically.



CASE CONTINUED TO: September 9, 2020 at 2:15 pm for: Motion and Trial Setting Conference




EXCLUDABLE DELAY:
Category: Preparation of Counsel
Begins: July 8, 2020
Ends: September 9, 2020
